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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

In re:                                              )       Case No. 3:19-bk-30822
                                                    )
TAGNETICS, INC.                                     )       Chapter 7 (Involuntary)
                                                    )
               Alleged Debtor.                      )       JUDGE GUY R. HUMPHREY
                                                    )

                            NOTICE OF APPEARANCE AND
                          REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that the undersigned attorney of the law firm McCarthy, Lebit,

Crystal & Liffman, Co. L.P.A. hereby enters his appearance as counsel for the Alleged Debtor,

Tagnetics, Inc. in the above captioned case and, pursuant to Bankruptcy Rules 2002, 9007 and

9010, requests that all notices given or required to be given in the case and all papers served or

required to be served in the case, be given to and served upon the undersigned at the following

office address, email address, facsimile number and telephone number:

         ROBERT R. KRACHT, ESQ.
         MCCARTHY, LEBIT, CRYSTAL & LIFFMAN CO., L.P.A.
         101 West Prospect Avenue
         1800 Midland Building
         Cleveland, Ohio 44115
         Telephone: (216) 696-1422
         Fascimile: (216) 696-1210
         Email: rrk@mccarthylebit.com




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        PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only

notices and papers referred to in the Bankruptcy Rules specified above, but also includes, without

limitation, orders and notices of any application, motion, petition, pleading, request, complaint, or

demand, whether formal or informal, whether written or oral, and whether transmitted or conveyed

by mail, deliver, telephone, telegraph, telex, facsimile transmission or otherwise filed with regard

to the above-referenced bankruptcy proceeding.

        The Entry of Appearance and Request for Service of Papers is without prejudice to

Tagnetics, Inc.’s rights, remedies and claims against other entities or any objection that may be

made to the jurisdiction or venue of the Court or venue of this case, and shall not be deemed or

construed to be a waiver of Tagnetics, Inc.’s rights (1) to have final orders in noncore matters

entered only after de novo review by a District Judge, (2) to trial by jury in any proceeding so

triable in this case or any case, controversy, or proceeding related to this case, (3) to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal, or (4) or any other rights, claims, actions, setoffs, or recoupments to which Tagnetics,

Inc. is or may be entitled, in law or in equity, all of which rights, claims, actions defenses, setoffs,

and recoupments Tagnetics, Inc. expressly reserves.

                                                        Respectfully submitted,

                                                        /s/ Robert R. Kracht
                                                        Robert R. Kracht (0025574)
                                                        MCCARTHY, LEBIT, CRYSTAL
                                                          & LIFFMAN CO., LPA
                                                        101 West Prospect Avenue, Suite 1800
                                                        Cleveland, Ohio 44115
                                                        (216) 696-1422 – Telephone
                                                        (216) 696-1210 – Facsimile
                                                        rrk@mccarthylebit.com




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 23, 2019, a copy of the foregoing Notice of Appearance was
filed electronically and served via first-class, U.S. Mail, postage prepaid and properly addressed,
upon the following parties:
Tagnetics Inc.
3415 RT 36
Piqua, OH 45356

Kenneth W Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Early
6429 Winding Tree Dr
New Carlise, OH 45344

Kayser Ventures Ltd
1872 Pratt Dr
Ste 1800
Blacksburg, VA 24060

Jonathan Hager
2170 River Oaks Drive
Salem, VA 24153

Robert Strain
427 Artell St
Marcengo, IL 60152

S-Tek Inc.
1100 Wayne St
Suite 5000
Troy, OH 45373

U.S. Trustee
Asst US Trustee (Day)
Office of the US Trustee
170 North High Street
Suite 200
Columbus, OH 43215-2417

                                                     /s/ Robert R. Kracht
                                                     Robert R. Kracht (#0025574)




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